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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS



IN RE: PHARMACEUTICAL INDUSTRY                               MDL NO. 1456
AVERAGE WHOLESALE PRICE LITIGATION
                                                             CIVIL ACTION: 01-CV-12257-PBS


THIS DOCUMENT RELATES TO:

State of Arizona v. Abbott Labs., Inc., et al.,
        Cause No. 1:06-CV-11069-PBS



              [PROPOSED] ORDER GRANTING MOTION FOR DISMISSAL OF
                  THE SCHERING-PLOUGH GROUP WITH PREJUDICE


          The Motion for Dismissal of the Schering-Plough Group with Prejudice is hereby

GRANTED.

          Defendants the Schering-Plough Group is hereby dismissed from the above-referenced

action.

          The parties shall each bear their own costs.

          This dismissal has no effect on the State of Arizona’s claims or allegations against any

parties other than the Schering-Plough Group.




          SO ORDERED this ___ day of __________, 2010.




                                    HON. PATTI B. SARIS, USDJ




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                                CERTIFICATE OF SERVICE


       I, Steve W. Berman, hereby certify that a true and correct copy of the above document
was served on the attorney of record for each party via the Court’s electronic filing system this
21st day of October, 2010.


                                              By        /s/ Steve W. Berman
                                                 Steve W. Berman
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                                              Seattle, WA 98101
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